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       No. 24-2092
         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE SECOND CIRCUIT

      BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.,
                                         Plaintiff-Appellant,
                                     v.
    UNITED STATES DEPARTMENT OF HEALTH AND HUMAN
SERVICES; XAVIER BECERRA, in his official capacity as Secretary of
    Health and Human Services; CENTERS FOR MEDICARE AND
 MEDICAID SERVICES; and CHIQUITA BROOKS-LASURE, in her
 official capacity as Administrator of Centers for Medicare and Medicaid
                                 Services,
                                         Defendants-Appellees.

            On Appeal from the United States District Court
                    for the District of Connecticut

BRIEF FOR APPELLEES U.S. DEPARTMENT OF HEALTH AND
         HUMAN SERVICES, XAVIER BECERRA,
    CENTERS FOR MEDICARE & MEDICAID SERVICES,
           AND CHIQUITA BROOKS-LASURE

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                              INTRODUCTION

      For more than 30 years, Congress has limited how much federal

agencies will pay for prescription drugs. Manufacturers that wish to sell

their drugs to the Departments of Defense and Veterans Affairs, for

example, do so subject to statutorily defined ceiling prices, and both agencies

have authority to negotiate prices below those ceilings. See 38 U.S.C.

§ 8126(a)-(h). In the Inflation Reduction Act of 2022, Pub. L. No. 117-169,

136 Stat. 1818 (IRA), Congress gave the Secretary of Health and Human

Services (HHS) similar authority to address the extraordinary and

unsustainable increase in the prices that Medicare pays for pharmaceutical

products that lack generic competition and that account for a

disproportionate share of Medicare’s expenses. 42 U.S.C. §§ 1320f(a), 1320f-

1(b), (d), (e). Under the IRA’s Drug Price Negotiation Program, the Centers

for Medicare & Medicaid Services (CMS) can now negotiate the prices that

Medicare will pay for a select group of drugs manufactured by companies

that choose to sell drugs to Medicare and Medicaid.

      Plaintiff Boehringer Ingelheim Pharmaceuticals, Inc., challenges the

Negotiation Program as effecting a physical taking of its drugs, as fixing a

price cap without due process, as compelling its speech in violation of the
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First Amendment, and as otherwise coercing waivers of these First and Fifth

Amendment rights. The district court correctly rejected each of these

claims, recognizing that Congress has broad authority to set the terms of the

government’s offer to purchase goods and that it acted well within this

authority in establishing a framework for negotiating the prices that

Medicare pays for certain high-expenditure drugs.

     Binding precedent establishes that participation in Medicare is

voluntary. See Garelick v. Sullivan, 987 F.2d 913, 916 (2d Cir. 1993).

Pharmaceutical manufacturers like Boehringer choose to accept the terms of

the Medicare program and sell drugs to the government because doing so is

immensely lucrative. If participating in Medicare stopped being profitable,

Boehringer could walk away.

     The voluntary nature of Boehringer’s participation undermines most of

its constitutional claims. Boehringer has the option not to sell its drugs on

the terms offered by the government. If it chooses to do so anyway because

the alternative is less profitable, Boehringer cannot complain that a taking

has occurred. In setting the terms of its offer to pay for drugs for Medicare

beneficiaries, the government has neither mandated the transfer of

Boehringer’s property nor deprived Boehringer of any protected property



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interest. Pharmaceutical companies have no constitutionally protected

interest in dictating the price that the government will pay for their

products. The voluntariness of participation in Medicare—and thus in the

Negotiation Program—is also fatal to Boehringer’s contention that the

contract terms impermissibly compel speech.

     Boehringer’s attempt to repackage these arguments as

unconstitutional conditions claims also fails because the government has

substantial leeway to establish the parameters and mechanisms through

which its programs operate and the terms on which it disburses money.

Congress implemented the Negotiation Program to curb the unsustainable

rise in public spending on prescription drugs, and the pricing and contracting

requirements that Boehringer challenges are integral parts of the Program’s

operation—not extrinsic conditions preventing Boehringer from exercising

its constitutional rights. Because the IRA expressly directs CMS to

implement the Negotiation Program through guidance through 2028,

Boehringer’s challenge to the procedures used by the agency likewise lacks

merit.




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                   STATEMENT OF JURISDICTION

      Boehringer invoked the jurisdiction of the district court under

28 U.S.C. §§ 1331 and 1346. JA33. On July 9, 2024, the district court entered

final judgment against Boehringer. SPA48. On July 26, 2024, Boehringer

timely noticed this appeal. JA412; see Fed. R. App. P. 4(a)(1)(B). This Court

has jurisdiction under 28 U.S.C. § 1291.

                     STATEMENT OF THE ISSUES

      I. Whether the district court correctly rejected Boehringer’s claims

that Congress violated Fifth Amendment takings and due process principles

when it authorized CMS to negotiate the price the government will pay for

certain prescription drugs for Medicare beneficiaries.

      II. Whether the district court correctly rejected Boehringer’s claim

that by signing a contract memorializing its decision to participate in drug-

price negotiations, as well as the negotiated price, it was compelled to speak

in violation of the First Amendment.

      III. Whether the district court correctly rejected Boehringer’s claim

that the Negotiation Program forces it to give up constitutional rights in

order to receive unrelated benefits.




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      IV. Whether the district court correctly rejected Boehringer’s claim

that, despite express statutory instructions to implement the Negotiation

Program through guidance, CMS was actually required to proceed through

notice-and-comment rulemaking.

                      STATEMENT OF THE CASE

      A.    Medicare and the Escalating Cost of Prescription Drug
            Coverage

      Congress created Medicare in 1965. Social Security Amendments of

1965, Pub. L. No. 89-97, tit. I, 79 Stat. 286, 290-353. Medicare provides

federally funded health coverage for individuals who are 65 or older or who

have certain disabilities or medical conditions. 42 U.S.C. § 1395 et seq. CMS

administers Medicare on behalf of the Secretary of HHS.

      Medicare is divided into “Parts,” which establish the terms under

which Medicare pays for specific benefits. See Northeast Hosp. Corp. v.

Sebelius, 657 F.3d 1, 2 (D.C. Cir. 2011). Medicare Part B covers outpatient

care as well as the cost of drugs administered as part of that care. Cares

Cmty. Health v. HHS, 944 F.3d 950, 953 (D.C. Cir. 2019). For nearly four

decades, Medicare did not cover the cost of prescription drugs unless they

were administered by medical professionals. That changed in 2003, when

Congress enacted Medicare Part D to provide “a voluntary prescription drug


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benefit program that subsidizes the cost of prescription drugs and

prescription drug insurance premiums for Medicare enrollees.” United

States ex rel. Spay v. CVS Caremark Corp., 875 F.3d 746, 749 (3d Cir. 2017);

see 42 U.S.C. § 1395w-101 et seq. In enacting Part D, Congress initially

barred CMS from negotiating Part D drug prices or otherwise interfering in

the arrangements between drug manufacturers and insurance plans.

42 U.S.C. § 1395w-111(i); see also Michelle Singer, Under the Influence,

CBS News (Mar. 29. 2007), https://perma.cc/5U9Z-M2YS (documenting

extensive industry efforts to lobby for price-negotiation bar in lead-up to

enactment of Part D). But that model led to skyrocketing drug prices that

saddled beneficiaries with unaffordable copays and threatened the long-term

solvency of the program.

     The cost to the federal government of providing prescription drug

coverage under Medicare Parts B and D is immense. In 2021 alone, the

federal government spent more than $250 billion on drugs covered by these

programs. See KFF, 10 Prescription Drugs Accounted for $48 Billion in

Medicare Part D Spending in 2021, or More Than One-Fifth of Part D

Spending That Year (July 12, 2023), https://perma.cc/4CYL-KYRM. That

figure has risen dramatically over the last decade and is “projected to



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continue rising during the coming decade, placing increasing fiscal

pressure[ ]” on the federal budget. Office of the Assistant Sec’y for Planning

& Evaluation, HHS, Report to Congress: Prescription Drug Pricing 8 (May

20, 2020), https://perma.cc/5GEN-LZ7F (2020 Report). Medicare Part D

spending in particular “is projected to increase faster than any other

category of health spending.” S. Rep. No. 116-120, at 4 (2019).

      In addition to its effects on the fisc, the high cost of prescription drug

coverage directly burdens Medicare beneficiaries by affecting their

premiums and out-of-pocket payments. Because Part B premiums are

automatically set to cover 25% of aggregate Part B spending, higher total

spending on prescription drug coverage results in higher premiums for

individual enrollees. See 2020 Report 11. Beneficiaries also pay 20% of their

Part B prescription drug costs out of pocket. Part D premiums are similarly

based on a plan’s anticipated costs, and many Part D plans likewise require

beneficiaries to pay additional cost-sharing amounts.

      A “relatively small number of drugs are responsible for a

disproportionately large share of Medicare costs.” H.R. Rep. No. 116-324,

pt. 2, at 37 (2019). In 2018, “the top ten highest-cost drugs by total spending

accounted for 46 percent of spending in Medicare Part B” and “18 percent of



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spending in . . . Part D.” 2020 Report 7. By 2021, the top ten drugs by total

spending accounted for 22% of spending under Part D. See Juliette

Cubanski & Tricia Neuman, A Small Number of Drugs Account for a Large

Share of Medicare Part D Spending, KFF (July 12, 2023),

https://perma.cc/2PF2-336Z.

      These rising costs are in large part attributable to manufacturers’

considerable latitude in dictating the prices that Medicare pays for the most

expensive drugs. Because drug prices under Medicare Part B and Part D

were tied to the price manufacturers charged private buyers, see 42 U.S.C.

§§ 1395w-3a(b), 1395w-101 et seq., manufacturers of drugs with no generic

competition could “effectively set[ ] [their] own Medicare payment rate[s]” by

dictating sales prices in the broader market. Medicare Payment Advisory

Comm’n, Report to the Congress: Medicare and the Health Care Delivery

System 84 (June 2022), https://perma.cc/5X4R-KCHC. Drug companies’

substantial leeway in this respect was compounded by the significant legal

and practical obstacles to market entry faced by generic competitors, along

with the practice of many manufacturers of protecting their market share by

entering into “settlements” with generic manufacturers to limit generic

marketing. See, e.g., Sarah M.E. Gabriele & William B. Feldman,



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The Problem of Limited-Supply Agreements for Medicare Price

Negotiation, 330 JAMA 1223 (2023). As a result of these factors, there are in

many instances “no market forces to apply downward pressure to provide

lowered prices to the millions who have coverage for such medicines under

Medicare.” H.R. Rep. No. 116-324, pt. 2, at 37-38.

     Other federal agencies, including the Departments of Defense and

Veterans Affairs, operate their drug benefit programs differently and have

not been subject to skyrocketing costs. As a condition on Medicaid

participation, manufacturers that wish to sell drugs to the government

through these programs have long been required to negotiate with the

government and reach agreements subject to statutorily defined ceiling

prices. See 38 U.S.C. § 8126(a)-(h). As a consequence, manufacturers often

sell drugs to these agencies for roughly half as much as they charge

Medicare Part D. See Cong. Budget Office, A Comparison of Brand-Name

Drug Prices Among Selected Federal Programs 16 (Feb. 2021),

https://perma.cc/YY2E-GM97. “[I]f Medicare had received the same

discounts as the Departments of Defense and Veterans Affairs, taxpayers

would have saved” billions. Staff of H. Comm. on Oversight & Reform, Drug




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Pricing Investigation: AbbVie—Humira and Imbruvica 13-15 (May 2021),

https://perma.cc/Z2KG-ZKW3.

     B.    The IRA’s Drug Price Negotiation Program

     Through the IRA’s Drug Price Negotiation Program, Congress

empowered the HHS Secretary, acting through CMS, to negotiate the prices

Medicare pays for certain drugs, just as the Department of Defense, the

Department of Veterans Affairs, and the Coast Guard have done for decades.

See IRA §§ 11001-11003, 136 Stat. at 1833-64 (codified at 42 U.S.C. §§ 1320f-

1320f-7 and 26 U.S.C. § 5000D). The Negotiation Program applies only to

manufacturers that choose to participate in Medicare and Medicaid, and even

then, it governs only the prices that Medicare pays for certain drugs.

See 42 U.S.C. § 1320f-1(b), (d). The Program does not dictate the prices paid

by other buyers of those drugs.

     By statute, only certain drugs are eligible for selection in the

Negotiation Program: those that account for the highest Medicare

expenditures, that have no generic or biosimilar competitors, and that have

been on the market for at least seven years. See 42 U.S.C. § 1320f-1(d), (e).

For the first negotiation cycle, CMS selects ten of these drugs with the




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highest Medicare expenditures for negotiations. Id. § 1320f-1(a). Additional

drugs are to be selected for future negotiation cycles.

      After selecting the drugs, CMS signs a Manufacturer Agreement with

those manufacturers that are willing to engage in the negotiation process.

42 U.S.C. § 1320f-2. The object of the negotiations is to reach agreement on

what the IRA terms a “maximum fair price” that Medicare will pay for each

selected drug. Id. § 1320f-3. To guide the negotiation process, Congress

imposed a “[c]eiling for [the] maximum fair price,” which is based on

specified pricing data for each drug, id. § 1320f-3(c), and directed CMS to

“aim[ ] to achieve the lowest maximum fair price” that the manufacturer will

accept, id. § 1320f-3(b)(1). If negotiations prove successful, the manufacturer

signs an addendum to the Manufacturer Agreement establishing the

maximum price at which the drug will be made available to Medicare

beneficiaries. Id. § 1320f-3.

      In enacting the Negotiation Program, Congress revised the terms of

its offer to continue purchasing drugs for Medicare and Medicaid. A drug

manufacturer that does not wish to participate in the Negotiation Program

has several options. Because “participation in the Medicare program is a

voluntary undertaking,” SPA28 (quotation marks omitted), the manufacturer



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can withdraw from Medicare and Medicaid, and thus not be subject to any of

the Negotiation Program’s requirements. 26 U.S.C. § 5000D(c)(1); see also

CMS, Medicare Drug Price Negotiation Program: Revised Guidance,

Implementation of Sections 1191 – 1198 of the Social Security Act for Initial

Price Applicability Year 2026, at 120-21 (June 30, 2023),

https://perma.cc/K6QB-C3MM (Revised Guidance). Alternatively, a

manufacturer can transfer its ownership of the selected drug to another

entity and continue to sell other drugs to Medicare and Medicaid.

See Revised Guidance 131-32. A manufacturer that pursues neither of these

options may also continue to sell the selected drug to Medicare beneficiaries

at non-negotiated prices subject to an excise tax. See 26 U.S.C. § 5000D(a)-

(h); see also Excise Tax on Designated Drugs, 90 Fed. Reg. 31 (Jan. 2, 2025);

Internal Revenue Serv., Notice No. 2023-52 (Aug. 4, 2023),

https://perma.cc/B9JZ-ZG7P (IRS Notice).

     C.    Implementing the Negotiation Program

     1. In addition to the statutory requirements set out above, Congress

instructed CMS to implement the Negotiation Program through “program

instruction or other forms of program guidance” for the first three

negotiation cycles. IRA § 11001(c), 136 Stat. at 1854. In June 2023, CMS



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published a Revised Guidance that explains, among other things, how CMS

determines which drugs may be selected for negotiation and the procedures

for participating in the negotiation process. See Revised Guidance 91-92.

      The Revised Guidance also sets out procedures for manufacturers that

choose not to participate in the Negotiation Program. Revised Guidance 118-

21, 129-31. In those circumstances, CMS will “facilitate an expeditious

termination of” a manufacturer’s Medicare agreement before the

manufacturer would incur liability for any excise tax, so long as the

manufacturer notifies the agency of its desire to withdraw at least 30 days in

advance of when the tax would otherwise begin to accrue. Revised Guidance

33-34. The Treasury Department and the Internal Revenue Service issued a

notice explaining that, when excise tax liability is triggered, the tax will be

imposed only on the manufacturer’s “sales of designated drugs dispensed,

furnished, or administered to individuals under the terms of Medicare”— i.e.,

not on drugs dispensed, furnished, or administered outside of Medicare. IRS

Notice 3. That interpretation is effective immediately. See id. at 5. The

Treasury Department and the IRS have reiterated their understanding of

the application of the tax in a proposed rule. See 90 Fed. Reg. 31.




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      2. In August 2023, CMS selected drugs for the first negotiation cycle.

See HHS, HHS Selects the First Drugs for Medicare Drug Price

Negotiation (Aug. 29, 2023), https://perma.cc/A36P-Z88Z. The ten drugs

selected accounted for more than $50 billion of gross Medicare Part D

spending between June 2022 and May 2023, and Medicare beneficiaries paid

a total of $3.4 billion in out-of-pocket costs for those drugs in 2022 alone. See

id.; CMS, Medicare Drug Price Negotiation Program: Selected Drugs for

Initial Price Applicability Year 2026 (Aug. 2023), https://perma.cc/X37F-

RC94. Boehringer’s glycemic-control drug Jardiance was among the those

selected for negotiation. Id. Boehringer executed a Manufacturer

Agreement with CMS to negotiate the price of its drug, and negotiations

proceeded over the spring and summer of 2024. See CMS, Medicare Drug

Price Negotiation Program: Manufacturer Agreements for Selected Drugs

for Initial Price Applicability Year 2026 (Oct. 3, 2023),

https://perma.cc/3222-VPEE.

      In accordance with the schedule established by Congress, CMS

presented Boehringer and the other manufacturers of selected drugs with

initial offers by February 1, 2024. See CMS, Medicare Drug Price

Negotiation Program: Negotiated Prices for Initial Price Applicability Year



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2026 (Aug. 15, 2024), https://perma.cc/6MVG-BZP8. Boehringer responded

to the initial offer with a counteroffer by March 2. Id. CMS subsequently

held three negotiation meetings with each company to discuss the offers and

relevant evidence. Id. Many companies proposed revised counteroffers

during these meetings, and CMS accepted four of these revised counteroffers

outright. Id. All in all, CMS reached price agreements for five of the

selected drugs in connection with these meetings. CMS sent final written

offers to manufacturers of the five remaining drugs, including Boehringer,

by July 15. By August 1, 2024, CMS and the participating manufacturers

had agreed to a negotiated price for each of the ten selected drugs. Id. See

also CMS, Maximum Fair Price (MFP) Explanation for Jardiance 1-4

(Dec. 20, 2024), https://perma.cc/HEP2-NFJU. Assuming that none of the

ten manufacturers withdraws from the negotiation agreement by December

2025, these prices will take effect on January 1, 2026. 42 U.S.C. §§ 1320f(b),

(d), 1320f-2(a), 1320f-3(b).

      D.    Prior Proceedings

      1. Boehringer sued, asserting violations of the Due Process and

Takings Clauses of the Fifth Amendment, the First Amendment, the

unconstitutional conditions doctrine, the Administrative Procedure Act



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(APA), and the Excessive Fines Clause of the Eighth Amendment. JA74-83.

The parties cross-moved for summary judgment. After oral argument, the

district court granted summary judgment to the government on all of

Boehringer’s claims. SPA48; see SPA1. 1

      The district court first rejected Boehringer’s claims that the

Negotiation Program deprives it of its property interest in its “ physical

doses of Jardiance,” without due process, and that it effects a physical taking

of Jardiance. SPA13 (quotation marks omitted). The district court explained

that, because Boehringer can “opt out of Medicare and Medicaid” without

penalty before the maximum fair price takes effect, participation in the

Negotiation Program is voluntary and does not deprive Boehringer of its

property. SPA14; see SPA15-19. With respect to the takings claim, the court

emphasized that the Negotiation Program affects “prices only in a portion of

the drug market created and funded by the federal government” and not the

market as a whole, SPA24-25, and it “do[es] not permit the government to

seize [manufacturers’] property (or to provide access to it by others) if they

refuse to turn it over,” SPA26 (distinguishing Horne v. Department of




      Because Boehringer has abandoned its Eighth Amendment claim on
      1

appeal, Br. 14 n.5, we do not address it. See SPA43-46 (rejecting that claim).

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Agriculture, 576 U.S. 350 (2015)). The court rejected plaintiff’s argument

that argument that, because participating in Medicare is lucrative, that

financial incentive renders such participation involuntary. SPA21-23.

      The district court next rejected the argument that the requirement to

sign a Manufacturer Agreement impermissibly forces Boehringer to speak

or to engage in expressive conduct because the Agreement uses terms like

“negotiation” and “maximum fair price.” The court reiterated that the

Negotiation Program “d[oes] not ‘compel’ [Boehringer] to do anything”

because manufacturers can opt out of participation and avoid signing the

Agreement. SPA31. And it further explained that “the Manufacturer

Agreement regulates [Boehringer]’s conduct,” rather than speech, and that

“any effects it may have on speech are ‘plainly incidental’ ” to the

government’s goal of negotiating drug prices. SPA31. Noting that the

Agreement includes a disclaimer stating, inter alia, that “[i]n signing this

Agreement, the Manufacturer does not make any statement regarding or

endorsement of CMS’[s] views,” JA299; see SPA32, and finding no “intent to

convey a particularized message,” the court also rejected Boehringer’s

argument that signing the Agreement constitutes expressive conduct, SPA33

(quoting Slattery v. Hochul, 61 F.4th 278, 291 (2d Cir. 2023)).



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      The district court likewise found no merit to Boehringer’s argument

that the Negotiation Program impermissibly requires it to forfeit its rights

under the First and Fifth Amendments as a condition on participation in

Medicare and Medicaid. The court explained that, “to the extent the

unconstitutional condition[s] doctrine applies at all to claims such as these,”

the “core feature” of the doctrine “is a concern that the government will tie

its own goals to unrelated benefits that flow from its regulatory and spending

programs—and that feature is missing here” because the conditions imposed

are “closely related to the government’s goal of controlling spending in the

Medicare program.” SPA38.

      The district court also rejected Boehringer’s challenge to the

procedures used in implementing the Revised Guidance, concluding that the

IRA expressly directed CMS to implement the Negotiation Program—

including the Manufacturer Agreement—through guidance and did not

require notice and comment. SPA43.

      2. Other drug manufacturers and interest groups have filed related

suits across the country challenging the constitutionality and implementation

of the Negotiation Program. To date, every court to reach the merits of such

claims have rejected them. See AstraZeneca Pharm. LP v. Becerra,



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719 F. Supp. 3d. 377 (D. Del. 2024), appeal pending, No. 24-1819 (3d Cir.);

Bristol Myers Squibb Co. v. Becerra, Nos. 23-cv-3335, 23-cv-3818, 2024 WL

1855054 (D.N.J. Apr. 29, 2024), appeals pending, Nos. 24-1810, 24-1821 (3d

Cir.); Novo Nordisk Inc. v. Becerra, No. 23-cv-20814, 2024 WL 3594413

(D.N.J. July 31, 2024), appeal pending, No. 24-2510 (3d Cir.); Novartis

Pharm. Corp. v. Becerra, No. 23-cv-14221, 2024 WL 4524357 (D.N.J. Oct. 18,

2024), appeal pending, No. 24-2968 (3d Cir.).

     A district court rejected another challenge on threshold grounds.

Dayton Area Chamber of Commerce v. Becerra, No. 3:23-cv-156, 2024 WL

3741510 (S.D. Ohio Aug. 8, 2024), appeal pending, No. 24-3868 (6th Cir.).

And two other cases raising related issues remain pending in district court.

Merck & Co. v. Becerra, No. 1:23-cv-1615 (D.D.C. June 6, 2023); National

Infusion Ctr. Ass’n v. Becerra, No. 1:23-cv-707 (W.D. Tex. June 21, 2023);

see also National Infusion Ctr. Ass’n v. Becerra (NICA), 116 F.4th 488 (5th

Cir. 2024) (reversing order dismissing action on threshold grounds).

                      SUMMARY OF ARGUMENT

     I. The district court correctly held that Congress’s establishment of

the terms on which the government will pay for prescription drugs for




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Medicare beneficiaries is consistent with the Takings and Due Process

Clauses.

     A. Courts have long recognized that government action that adjusts

economic relationships, without a physical invasion or appropriation of

property, does not amount to a per se, physical taking—which is the only

type of taking Boehringer asserts. To establish a physical takings claim, a

plaintiff must show that the government has forcibly appropriated or

otherwise compelled the transfer of private property. Absent either

showing, there is no deprivation that could give rise to such a claim.

     In the IRA, Congress established a framework for negotiations over

the prices that Medicare will pay for certain drugs. Contrary to

Boehringer’s contention, the Negotiation Program simply adjusts the terms

of the government’s offer to pay for drugs for beneficiaries. It does not

physically appropriate any manufacturer’s drugs or otherwise compel their

surrender, and therefore it does not effect a physical taking.

     Boehringer errs in asserting that the Negotiation Program “forces” it

to sell its drugs to the government at below-market value by compelling

participation in the Negotiation Program. Boehringer is not legally required

to make any sales to the government or to otherwise provide drugs to



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Medicare. Longstanding precedent forecloses the contention that the

profitability of Medicare effectively compels participation: The economic

incentives for manufacturers to participate in Medicare and Medicaid do not

make such participation involuntary. See Garelick v. Sullivan, 987 F.2d 913,

916 (2d Cir. 1993). When a company retains the option not to sell products on

the offered terms—but chooses to anyway because the alternative is less

profitable—no physical “taking” has occurred.

      B. The district court also correctly rejected Boehringer’s due process

claim because Boehringer fails to identify a protected property interest

affected by the Negotiation Program. There is no substance to Boehringer’s

assertion that it has a protected property interest in dictating the price the

government pays for drugs.

      II. The Negotiation Program does not compel speech in violation of

the First Amendment by requiring manufacturers that choose to participate

to enter a Manufacturer Agreement to negotiate with the government and to

honor any agreed-upon prices. Because participation in the Negotiation

Program is voluntary, Boehringer is not compelled to sign the Manufacturer

Agreement. In any event, the challenged Agreement implicates only non-

expressive commercial conduct and does not regulate Boehringer’s speech.



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As the district court observed, the Agreement includes a disclaimer stating,

inter alia, that “[i]n signing this Agreement, the Manufacturer does not

make any statement regarding or endorsement of CMS’[s] views.” JA299; see

SPA31. The absence of any “intent to convey a particularized message” is

fatal to Boehringer’s claim. SPA33 (quoting Slattery v. Hochul, 61 F.4th 278,

291 (2d Cir. 2023)).

      III. The Negotiation Program also does not contravene the

unconstitutional conditions doctrine. The Supreme Court has long

recognized that the government may set the parameters and mechanisms

through which its programs operate without infringing on participants’

constitutional rights, as long as those conditions leave participants free to

exercise their constitutional rights outside the scope of the government

spending. Boehringer complains that a manufacturer that participates in the

Negotiation Program must (1) enter into price-negotiation agreements and

(2) abide by the agreed-upon prices in sales of the selected drugs to Medicare

beneficiaries. But these are integral parts of the Negotiation Program’s

operation, and they do not impede Boehringer’s ability to exercise its rights

outside the scope of Medicare sales.




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      IV. Finally, the district court correctly rejected Boehringer’s APA

claim because the IRA directs CMS to “implement” the Negotiation

Program’s first three years through “program instruction or other forms of

program guidance.” IRA § 11001(c), 136 Stat. at 1854. That clear statement

displaces the default requirement for CMS to proceed through notice-and-

comment rulemaking. And the Manufacturer Agreement is plainly part of

the program implementation.

                        STANDARD OF REVIEW

      This court reviews de novo an order granting summary judgment.

Jabar v. DOJ, 62 F.4th 44, 48 (2d Cir. 2023) (per curiam).

                                ARGUMENT

I.    Congress’s authority to set the terms on which the
      government offers to pay for goods is well established.

      Boehringer asserts that Congress violated the Fifth Amendment when

it authorized CMS to negotiate the prices it will pay for certain prescription

drugs. There is no substance to the contention that these provisions effect a

taking or violate Boehringer’s right to due process.

     A.    The Negotiation Program does not effect a physical
           taking of Boehringer’s drugs.

     Courts have long recognized that government actions that adjust

economic relationships, without a physical invasion or appropriation of

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property, do not amount to a physical taking. In the IRA, Congress

established a framework for voluntary negotiations over certain drug prices

that fits squarely within this well-established precedent. The Negotiation

Program adjusts the terms of the government’s offer to pay for drugs for

Medicare beneficiaries, but it does not physically appropriate any

manufacturer’s drugs or otherwise compel their surrender or transfer. If

Boehringer prefers not to sell selected drugs to Medicare on the terms

established by Congress, it need not sell drugs to Medicare at all.

           1.    The government effects a physical taking only
                 where it appropriates or compels the transfer of
                 property.

     a. The Fifth Amendment provides that private property shall not “be

taken for public use, without just compensation.” U.S. Const. amend. V. A

“physical appropriation[ ]” occurs when the government “physically takes”

or authorizes “possession of property.” Cedar Point Nursery v. Hassid, 594

U.S. 139, 147-48 (2021). The government can also effect a “regulatory

taking[ ]” by, for example, imposing a regulation so burdensome that it

effectively deprives the owner of the property’s economic use. See Lingle v.

Chevron USA Inc., 544 U.S. 528, 537 (2005). Boehringer alleges only the




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first type of taking—a physical appropriation of its personal property. See

Br. 21 n.6 (citing JA75-77).

      To establish a physical takings claim, a plaintiff must show that the

government has forcibly appropriated or otherwise compelled the transfer of

private property. The Supreme Court analyzed one such claim in Horne v.

Department of Agriculture, 576 U.S. 350, 364 (2015), which concerned a

requirement that raisin growers “physical[ly] surrender” a percentage of

their raisin crop to the government as a condition of selling raisins on the

open market. The Court held that the requirement constituted a physical

taking because it required the transfer of “[a]ctual raisins” from the growers

to the government, and growers lost “any right to control the[ ] disposition”

of the raisins. Id. at 361, 364.

      The Supreme Court has distinguished this sort of direct, physical

appropriation of personal property from laws that merely restrict the use or

limit the value of such property, and which therefore do not effect a physical

taking. The Court has held, for example, that a law prohibiting the sale of

eagle feathers did not effect a taking—even though the law sapped the

feathers of all commercial value—because the law neither “compel[led] the

surrender of the artifacts” nor resulted in any “physical invasion or restraint



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upon them,” and the feather owners “retained the rights to possess, donate,

and devise their property.” Horne, 576 U.S. at 364 (quotation marks

omitted) (describing the holding in Andrus v. Allard, 444 U.S. 51 (1979)).

Relying on that analysis, the Horne Court explained that although a

regulation limiting the production of raisins might well have “the same

economic impact” on a farmer as a requirement to surrender raisins to the

government, the former does not constitute a physical taking because it does

not entail an appropriation. Id. at 362.

      The Supreme Court recently reiterated in Cedar Point that a physical

appropriation is an essential element of a physical takings claim. 594 U.S.

139. The plaintiffs in that case challenged a regulation “grant[ing] union

organizers a right to physically enter and occupy” private farmland for up to

three hours per day, 120 days a year. Id. at 149. In determining whether the

regulation was a physical taking, the Court explained that the “essential

question” is “whether the government has physically taken property for

itself or someone else.” Id. Because the challenged provision granted third

parties a right to “literally,” “physically invade the growers’ property,” the

Court held that this government-authorized occupation was a physical




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taking. Id. at 152. See also Lingle, 544 U.S. at 539; Bowles v. Willingham,

321 U.S. 503, 517-18 (1944).

      b. When an entity “voluntarily participates in a price-regulated

program or activity, there is no legal compulsion to provide” goods or

services, “and thus there can be no taking.” Garelick v. Sullivan, 987 F.2d

913, 916 (2d Cir. 1993) (citing cases); see Franklin Mem’l Hosp. v. Harvey,

575 F.3d 121, 129 (1st Cir. 2009). This Court applied these principles in

Garelick to reject a takings challenge to other Medicare pricing restrictions.

987 F.2d at 918. In that case, physicians challenged statutory caps on the

amount they could charge Medicare beneficiaries for services. Id. at 914-15.

This Court rejected the challenge because the physicians “voluntarily choose

to provide services in the price-regulated Part B program.” Id. at 916. 2

      Other courts of appeals have uniformly rejected similar takings

challenges on the grounds that “participation in the Medicare program is a

voluntary undertaking.” Livingston Care Ctr., Inc. v. United States,

934 F.2d 719, 720 (6th Cir. 1991). Unlike public utilities, which “generally are


      2
       That this Court reached that conclusion, because participation was
voluntary under federal law, even though New York law arguably required
the physicians to treat Medicaid patients who presented at New York
hospitals only underscores that the key question is whether federal law
permits the provider to opt. Garelick, 987 F.2d at 917.

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compelled” by statute “to employ their property to provide services to the

public,” Garelick, 987 F.2d at 916, no statute or regulation requires entities

to sell their products or services to Medicare. As a result, when addressing

regulations limiting physician fees, nursing-home payments, or hospital

reimbursements, courts have been unequivocal: Because providers are not

required to offer services to Medicare beneficiaries, the government deprives

them of no property interest for purposes of the Fifth Amendment when it

limits the amount it will pay for such services. See Southeast Ark. Hospice,

Inc. v. Burwell, 815 F.3d 448, 450 (8th Cir. 2016) (“[The plaintiff] voluntarily

chose to participate in the Medicare hospice program. ‘This voluntariness

forecloses the possibility that the statute could result in an imposed taking of

private property which would give rise to the constitutional right of just

compensation.’ ” (alteration omitted) (quoting Minnesota Ass’n of Health

Care Facilities v. Minnesota Dep’t of Pub. Welfare, 742 F.2d 442, 446

(8th Cir. 1984))); Franklin Mem’l Hosp., 575 F.3d at 129; Burditt v. HHS,

934 F.2d 1362, 1376 (5th Cir. 1991) (rejecting takings challenge to

reimbursement under Medicare because “[o]nly hospitals that voluntarily

participate in the federal government’s Medicare program must comply”);

Baptist Hosp. E. v. Secretary of HHS, 802 F.2d 860, 869-70 (6th Cir. 1986);



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Whitney v. Heckler, 780 F.2d 963, 972 (11th Cir. 1986); St. Francis Hosp. Ctr.

v. Heckler, 714 F.2d 872, 875-76 (7th Cir. 1983) (per curiam); Baker Cty. Med.

Servs., Inc. v. U.S. Attorney Gen., 763 F.3d 1274, 1279-80 (11th Cir. 2014).

            2.    The Negotiation Program does not physically
                  appropriate or otherwise compel the transfer of
                  Boehringer’s property.

      In contending that the Negotiation Program effects a physical taking

of property, Boehringer points to physical doses of Jardiance. See, e.g.,

Br. 21-22. That the Negotiation Program does not mandate any physical

appropriation of this property defeats Boehringer’s physical takings claim.

      Boehringer cannot allege that CMS will “sen[d] trucks to [its] facility”

to haul away its products as in Horne. 576 U.S. at 356. Nor is there any

plausible suggestion that Boehringer must otherwise physically turn over its

drugs to the government or Medicare beneficiaries. Instead, Boehringer

asserts that the Negotiation Program effects a physical taking by requiring

it to “grant Medicare beneficiaries and their providers ‘access to the

maximum fair price’ for” its drug if the company participates in Medicare.

Br. 22. But “access to [a] . . . price” is an entirely different thing from

physical access to drugs—particularly when the price is determined through




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a series of offers and counteroffers made after the manufacturer elects to

participate in Medicare and agrees to negotiate.

      The requirement to provide “access to [the negotiated] price,”

42 U.S.C. § 1320f-2(a)(1), (3), means only that a manufacturer that chooses to

participate in Medicare may not charge Medicare beneficiaries who are

dispensed, furnished, or administered the drug more than that price. See

CMS, Medicare Drug Price Negotiation Program: Final Guidance,

Implementation of Sections 1191 – 1198 of the Social Security Act for Initial

Price Applicability Year 2027 and Manufacturer Effectuation of the

Maximum Fair Price in 2026 and 2027, § 90.1, p. 282 (Oct. 2, 2024),

https://perma.cc/GV3J-DRKT (“Although the Primary Manufacturer is

obligated to provide access to the [maximum fair price] for all dosage forms,

strengths, and package sizes of the selected drug that are dispensed to [ ]

eligible individuals, the Primary Manufacturer is not obligated to make any

sales of the selected drug.”); see also id., § 40.4, p. 195; § 100.1, p. 295

      Contrary to Boehringer’s suggestion, the statute does not require it to

sell its drugs to Medicare in the first instance or to give anyone physical




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access to its drugs over its objection. 3 The Negotiation Program altered

what Medicare will pay for certain drugs, but it does not require any

pharmaceutical company to accept that offer to pay. Instead, the

Negotiation Program gives companies a choice whether to continue doing

business with the government on the terms the government is presently

offering. A manufacturer is subject to the negotiated price only if it chooses

to sell its drugs to Medicare beneficiaries. As CMS has explained, “the IRA

expressly connects a . . . [m]anufacturer’s financial responsibilities under the

voluntary Negotiation Program to that manufacturer’s voluntary

participation” in Medicare and Medicaid. Revised Guidance 120; see also

26 U.S.C. § 5000D(c)(1). Thus, as with other restrictions on Medicare

spending, providers may choose whether to accept participation on these

terms. If Boehringer is dissatisfied with the terms of the government’s offer,

it can decline to sell its drugs to Medicare. If it chooses instead to accept the




      Boehringer cites Cedar Point for the proposition that an “access”
      3

requirement can amount to a physical taking, Br. 23-24, but Cedar Point
underscores that physical takings arise from “[g]overnment action that
physically appropriates property,” as by granting physical access to private
farmland in that case. 594 U.S. at 149.


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offer and provide its drugs on those terms, it cannot then complain that the

government has effected a physical taking of its drugs.

            3.    As this Court has long held, participation in
                  Medicare is voluntary, and Boehringer may
                  choose not to accept the terms of the
                  government’s offer.

      a. Boehringer’s takings argument ultimately rests on the erroneous

assertion that it is being “coerced” to sell its drugs to the government on the

terms established by the Negotiation Program because it cannot afford to

forgo the profits it accrues through participation in Medicare and Medicaid.

Br. 47-50. But the courts of appeals have uniformly held that the economic

pressures on the healthcare industry to participate in Medicare and Medicaid

do not make such participation involuntary. As this Court has explained,

economic or other practical “hardship is not equivalent to legal compulsion

for purposes of [a] takings analysis.” Garelick, 987 F.2d at 917. Thus, even

where “business realities” create “strong financial inducement to

participate”—e.g., as where Medicaid provides the vast majority of a nursing

home’s revenue—the decision to participate in the program “is nonetheless

voluntary.” Minnesota Ass’n, 742 F.2d at 446; see also St. Francis Hosp.

Ctr., 714 F.2d at 875 (the “fact that practicalities may in some cases dictate

participation does not make participation involuntary”); Whitney, 780 F.2d at


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972 n.12 (same). That the government spends significant money on drugs for

Medicare and Medicaid, and that this money translates into substantial, but

highly regulated, commercial opportunities for pharmaceutical companies,

does not in any relevant sense mandate participation in those programs.

     This widespread recognition that economic incentives to do business

with the government, regardless of their magnitude, do not raise Takings

Clause concerns is unsurprising: The fundamental question in a takings case

is whether the government has “taken” or appropriated private property.

When a company retains the option not to sell products or services on the

offered terms—but chooses to anyway because the alternative is less

profitable—nothing has been “taken.”

     The government exercises considerable market power across a range

of contexts—indeed, in some circumstances, such as defense spending, it may

be the only market participant—and that fact has never been understood to

transform the government’s bargaining terms into matters of constitutional

concern. Cf. Perkins v. Lukens Steel Co., 310 U.S. 113, 127-28 (1940)

(observing that “[j]udicial restraint of those who administer the

Government’s purchasing would constitute a break with settled judicial

practice and a departure into fields hitherto” entrusted to other branches of



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government). Accordingly, the government has for decades offered to

purchase drugs subject to an extensive set of statutory and regulatory

requirements that Boehringer has previously accepted. For example, as a

condition on its participation in Medicaid, Boehringer has long been required

to enter into agreements that give the Department of Defense, the

Department of Veterans Affairs, and the Coast Guard the option to purchase

drugs at negotiated prices at or below statutory ceilings. See 38 U.S.C.

§ 8126(a)-(h). Pursuant to another condition on Medicaid participation,

Boehringer has likewise been required to enter into agreements to provide

drugs to certain healthcare facilities subject to statutory price ceilings.

SeeAstra USA, Inc. v. Santa Clara County, 563 U.S. 110, 113 (2011)

(describing requirements under Section 340B of the Public Health Services

Act).

        For each of these programs, providers must choose whether to do

business with the government on the terms the government is offering. And

these choices have long been held to be voluntary even though the financial

incentives to participate are great. The Negotiation Program works the

same way. And any company that rejects the government’s offer can

continue to sell its drugs to any other purchaser. Boehringer’s view that the



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Program is nevertheless mandatory runs counter to longstanding precedent

and would have sweeping implications across a wide range of industries and

programs.

       b. Boehringer cites National Federation of Independent Business v.

Sebelius (NFIB), 567 U.S. 519 (2012), for the idea that these incentives are

coercive, but that reliance is misplaced. In NFIB, the Court determined that

Congress exceeded the “limits on [its] power under the Spending Clause to

secure state compliance with federal objectives,” thus “violat[ing] the basic

principle that the ‘Federal Government may not compel the States to enact

or administer a federal regulatory program.’ ” Id. at 575-76 (lead opinion)

(quoting New York v. United States, 505 U.S. 144, 188 (1992)). It did so by

threatening to withhold existing grants of Medicaid funding as a means of

“coerc[ing] a State to adopt a federal regulatory system as its own.” Id. at

578.

       NFIB thus addressed federalism-based limits on the conditions that

Congress may attach to money it grants to States. See NFIB, 567 U.S. at

579 (lead opinion). These limits on Congress’s ability to “encourage a State

to regulate in a particular way,” id. at 576 (quotation marks omitted), do not

similarly restrict the government’s ability to procure goods from private



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companies or support the contention that such offers to pay for goods can be

coercive in any constitutional sense.

      Boehringer errs in attempting to analogize the federal assistance to

States at issue in NFIB to Boehringer’s history of profitable sales through

Medicare and Medicaid. Both before and after NFIB, courts have uniformly

rejected the idea that the lucrative nature of Medicare and Medicaid coerces

private parties so as to make their participation involuntary. See, e.g.,

Garelick, 987 F.2d at 917; Southeast Ark. Hospice, Inc., 815 F.3d at 450. And

rightly so: The NFIB “coercion” framework addresses—and is derived

exclusively from cases analyzing—how federalism principles inform what

conditions Congress may attach to money it grants to States. See NFIB, 567

U.S. at 579-81 (lead opinion) (discussing, inter alia, South Dakota v. Dole,

483 U.S. 203 (1987)). As the lead opinion in NFIB emphasizes, those

principles sound in the anticommandeering doctrine and protect “the status

of the States as independent sovereigns in our federal system.” Id. at 577

(citing Printz v. United States, 521 U.S. 898, 933 (1997); New York, 505 U.S.

at 174-75)); 4 see id. at 579-81 (discussing “coercion” as a limit on Congress’s


      4
        Accord NFIB, 567 U.S. at 677 (Scalia, Kennedy, Thomas, and Alito,
JJ., dissenting) (“Congress may not ‘simply commandeer the legislative
                                                              Continued on next page.


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ability to induce States to adopt policy changes); see also Northport Health

Servs. of Ark., LLC v. HHS, 14 F.4th 856, 869 n.5 (8th Cir. 2021) (explaining

that the NFIB “coercion” inquiry “describe[s] the federal government’s

limited constitutional authority under the Spending Clause to regulate the

states, not a federal agency’s ability to regulate [private] facilities’ use of

federal funding” (citation omitted)), cert. denied, 143 S. Ct. 294 (2022). See

generally New Jersey Thoroughbred Horsemen’s Ass’n v. NCAA, 584 U.S.

453, 473-74 (2018) (describing the federalism-based rationale for the

anticommandeering doctrine).

      The same analysis does not apply when, rather than using grant

conditions to “encourage[ ]” States to regulate, Congress sets terms for how

the federal government will pay for goods sold by private parties. See NFIB,

567 U.S. at 579-81 (lead opinion) (quoting New York, 505 U.S. at 175). It “has

long been recognized that the government, like private individuals and

businesses, has the power ‘to determine those with whom it will deal, and to

fix the terms and conditions upon which it will make needed purchases.’ ”

Ray Baillie Trash Hauling, Inc. v. Kleppe, 477 F.2d 696, 709 (5th Cir. 1973)




processes of the States by directly compelling them to enact and enforce a
federal regulatory program.’ ” (quoting New York, 505 U.S. at 161)).

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(quoting Perkins, 310 U.S. at 127). Courts thus distinguish, for constitutional

purposes, between the government acting “as a regulator” and the

government acting as “a market participant.” Chamber of Commerce of the

U.S. v. Brown, 554 U.S. 60, 70-71 (2008); see also Building & Constr. Trades

Council of the Metro. Dist. v. Associated Builders & Contractors of

Mass./R.I., Inc. (Boston Harbor), 507 U.S. 218, 229 (1993) (discussing the

“conceptual distinction between regulator and purchaser”). This distinction

reflects “the principle that a government, just like any other party

participating in an economic market, is free to engage in the efficient

procurement and sale of goods and services.” Associated Builders &

Contractors Inc. N.J. Chapter v. City of Jersey City, 836 F.3d 412, 417-18 (3d

Cir. 2016) (first citing Chamber of Commerce, 554 U.S. at 70; then citing

Boston Harbor, 507 U.S. at 228-30; and then citing Reeves, Inc. v. Stake,

447 U.S. 429, 437-40 (1980)); see also Brooks v. Vassar, 462 F.3d 341, 358 (4th

Cir. 2006) (confirming that the government can be a market participant even

when it regulates “the specific market in which it participates”).

      The Supreme Court has reiterated since NFIB that “healthcare

facilities that wish to participate in Medicare and Medicaid have always been

obligated to satisfy a host of conditions.” Biden v. Missouri, 595 U.S. 87, 94



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(2022) (per curiam). And the Court has not accepted the contention that such

“condition[s] [are] impermissibly coercive because the consequence of opting

out would be the loss of all Medicare and Medicaid funds.” Response to

Application for a Stay Pending Appeal at 27, Becerra v. Louisiana, Nos.

21A240, 21A241, 2021 WL 8939385, at *27 (U.S. Dec. 30, 2021) (emphasis

omitted) (citing NFIB, 567 U.S. at 580-81 (lead opinion)).

      Boehringer finds no more support in its reliance on Lochner Era

regulatory cases that are of limited continuing vitality. See Br. 50. These

cases are distinguishable because, in each, the government put sellers to the

choice of submitting to government regulation or not doing business in the

private market at all. See Union Pac. R.R. Co. v. Public Serv. Comm’n,

248 U.S. 67 (1918); United States v. Butler, 297 U.S. 1, 54 (1936); Carter v.

Carter Coal Co., 298 U.S. 238, 289 (1936). The same analysis does apply

where a party can avoid regulation simply by forgoing sales to a government

program, rather than exiting the industry altogether. It is well established

that, when Congress spends money, it has wide latitude to require recipients

to “agree to comply with federally imposed conditions.” Cummings v.

Premier Rehab Keller, P.L.L.C., 596 U.S. 212, 219 (2022) (quoting Pennhurst

State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981)). Butler is further



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distinguishable because it rests on a long-since abandoned view that

Congress lacks authority to regulate agricultural commodities

directly, 297 U.S. at 70; see, e.g., United States v. Lopez, 514 U.S. 549, 558

(1995); NFIB, 567 U.S. at 572-73 (lead opinion) (noting that Butler’s analysis

of regulatory taxes has been discarded), and there is no doubt here that

Congress has authority to determine how it spends federal funds on

prescription drugs, see Dole, 483 U.S. at 206.

      In paying for drugs for Medicare beneficiaries, the government has

legitimate interests in achieving the best prices it can for taxpayers and

ensuring the financial integrity of Medicare’s prescription drug programs.

Boehringer’s argument overlooks these interests, and it also elides the fact

that, even in markets in which the government is a dominant purchaser,

manufacturers often retain significant bargaining power. In the defense

context, for example, while the government uses its market position to

negotiate lower prices, defense contractors also leverage the government’s

desire for specific military technologies to negotiate favorable terms. The

same is true for prescription drugs. The government may try to use its

purchasing power to negotiate better prices on behalf of taxpayers, but drug

companies also wield substantial power given the government’s significant



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interest in providing coverage for critical medicines. That is particularly true

here: The Negotiation Program applies only to drugs without generic

competition, see 42 U.S.C. § 1320f-1(e), so if the government fails to reach a

deal, Medicare beneficiaries would likely be left without direct substitutes.

The government thus has a strong interest in reaching a deal under which

these important drugs will continue to be covered. And the parties here

engaged in a genuine back-and-forth, through a series of offers and

counteroffers, before arriving at a compromise position.

      c. There is no merit to Boehringer’s contention that its ability to

withdraw from Medicare and Medicaid (and thus avoid the terms of the

Negotiation Program) is analogous to the option available to the farmers in

Horne to withdraw from the broader raisin market (and thus avoid the

requirement to turn over raisins to the government). Br. 52-53. The Horne

Court explained that “[s]elling produce in interstate commerce” is a “basic

and familiar use[ ] of property” that people already enjoy, not something the

government gave the farmers as part of an exchange. 576 U.S. at 366. And

the farmers’ only options under the challenged provision, besides turning

over their raisins, were to sacrifice their preexisting ability to engage in the

ordinary commercial activity of selling raisins on the open market or to pay a



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fine equivalent to the fair market value of the raisins that they were

otherwise obligated to turn over—in exchange for nothing from the

government.

      The government’s offer to pay for drugs for Medicare beneficiaries,

which Boehringer can take or leave, bears no resemblance to the demand for

raisins in Horne. Here, the government is not demanding plaintiff’s drugs; it

is making an offer to pay for them and thereby offering something of value to

which Boehringer has no pre-existing right. That offer to pay stands in

contrast to the raisin farmers’ ability to “sell produce in interstate

commerce,” which is not a thing of value provided by the government.

Moreover, Boehringer may reject the government’s offer without prejudice

to any pre-existing property interest, including its ability to sell its drugs to

other buyers. This offer to pay for goods or services, which the provider of

goods or services may accept or refuse, is also present in other Medicare

takings cases and refutes Boehringer’s suggestion (Br. 19) that there is

tension between Horne and Garelick.

      There is likewise no merit to Boehringer’s contention that the excise

tax applicable to companies that choose to participate in Medicare and to sell

selected drugs to beneficiaries at a non-negotiated price is akin to the fine



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assessed for failure to comply with the raisin requirement in Horne. See

Br.21-23. This argument overlooks the fact that a manufacturer may avoid

both the excise tax and any restriction on its ability to sell drugs to willing

buyers by choosing not to participate in Medicare and Medicaid. The

plaintiffs in Horne were not given a similar opportunity to decline to engage

with the government while continuing to sell their goods to private

purchasers.

      While the excise tax provision gives pharmaceutical companies that do

not wish to participate in the Negotiation Program an alternative to

withdrawing from Medicare and Medicaid—i.e., continuing to sell their drugs

to Medicare at non-negotiated prices and paying an excise tax on those sales,

26 U.S.C. § 5000D—it is only one means for a manufacturer to reject the

government’s offer. A manufacturer could instead opt out of business with

the government by withdrawing from Medicare and Medicaid, in which case

it would avoid the excise tax and retain its ability to sell its drugs to other

buyers. Or a manufacturer could divest its interest in a selected drug or end

sales of a selected drug while continuing to sell its other drugs to Medicare.

Thus, the availability of the excise tax option does not undermine

Boehringer’s ability to walk away from any deal with the government (and



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pay no excise tax) if it is dissatisfied with the terms the government is

offering.

      B.    The Negotiation Program does not deprive Boehringer
            of a protected property interest so as to implicate
            principles of due process.

      The IRA provisions establishing the Negotiation Program do not

implicate Boehringer’s due process rights. The Due Process Clause protects

against the deprivation “of life, liberty, or property, without due process of

law.” U.S. Const. amend. V. The threshold “inquiry in every due process

challenge is whether the plaintiff has been deprived of a protected interest”

in liberty or property. American Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S.

40, 59 (1999). Boehringer’s argument fails at that first step.

      There is no substance to Boehringer’s assertion that the Negotiation

Program deprives it of a protected property interest in its physical doses of

Jardiance or in its proprietary information about that drug. Br. 26-27.

Boehringer’s argument in this respect is premised on the idea that the

Negotiation Program compels it to make its drugs available to beneficiaries

and its information available to the government. But, as discussed above,

participation in the Negotiation Program is voluntary, and it does not require

Boehringer to do anything if the company chooses not to participate. See



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supra pp. 32-43 Thus, contrary to Boehringer’s suggestion, the Negotiation

Program does not require it to make any sales to Medicare or to provide

drugs to any party. Nor does it require Boehringer to provide information to

CMS. While Boehringer undoubtedly has a property interest in certain

proprietary commercial information, Ruckelshaus v. Monsanto Co., 467 U.S.

986 (1984)—on which Boehringer relies (Br. 27)—underscores that the

“voluntary submission of data by an applicant in exchange for the economic

advantages of a registration” does not entail a deprivation of that interest.

Ruckelshaus, 467 U.S. at 1007. 5

      There is likewise no merit to Boehringer’s assertion that it has a

protected property interest in selling Jardiance to the government at a

particular price. Br. 26-27. “[N]o one has a ‘right’ to sell to the government

that which the government does not wish to buy.” Coyne-Delany Co. v.

Capital Dev. Bd., 616 F.2d 341, 342 (7th Cir. 1980) (per curiam). Just like

private individuals and businesses, “the Government enjoys the unrestricted



      5
       Even if the Negotiation Program did deprive Boehringer of a
property interest in its trade secrets, its due process claim would still fail
because Boehringer has not advanced—and has therefore forfeited—any
argument as to what additional process it would be due before it submits
data to the government. See JP Morgan Chase Bank v. Altos Hornos de
Mexico, S.A. de C.V., 412 F.3d 418, 428 (2d Cir. 2005).

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power to produce its own supplies, to determine those with whom it will deal,

and to fix the terms and conditions upon which it will make needed

purchases.” 6 Perkins, 310 U.S. at 127.

      Pursuant to the government’s power to determine the prices it will pay

for goods and services, other federal agencies have for decades negotiated

with drug manufacturers over the price paid for drugs in other government

programs. See, e.g., 38 U.S.C. § 8126(a)-(h). Similarly, as a condition of

Medicaid participation, drug manufacturers have long entered into

agreements to provide drugs to certain healthcare facilities subject to

statutory price ceilings. See Astra USA, 563 U.S. at 113 (describing

requirements under Section 340B of the Public Health Service Act). And the

government regularly negotiates the price it will pay for other goods. See,



      6
        While the unconstitutional conditions doctrine does not govern the
commercial terms of procurement decisions, such decisions are of course not
free from constitutional scrutiny. For instance, a procurement program
might still violate the equal protection component of the Fifth Amendment
by relying on impermissible race-based classifications. Cf. Adarand
Constructors, Inc. v. Peña, 515 U.S. 200 (1995). And a program could violate
the Due Process Clause if it is not rationally related to a legitimate state
interest. But no such concerns are present here. “It is clear that protection
of the fiscal integrity of the fund is a legitimate concern of the State[,]” Ohio
Bureau of Emp’t Servs. v. Hodory, 431 U.S. 471, 493 (1977), and there is no
doubt that the negotiation of prices is rationally related to the government’s
control of rising public spending on prescription drugs.

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e.g., 48 C.F.R. pts. 15, 215. Just as military contractors have no right to sell

their products to the Department of Defense at prices above what the

government is willing to pay, pharmaceutical companies have no right to sell

drugs to Medicare at a particular price.

      In negotiating the price that Medicare will pay for drugs, the

government is acting as a market participant. The IRA sets the terms of the

government’s offer to pay for certain drugs. While Boehringer may use its

market power to negotiate with the government, it has no right to force the

government to pay for its drugs on specific terms. Boehringer’s contrary

view does not reflect how the marketplace works, nor is it consistent with

Congress’s undoubted authority to control federal spending. The

Negotiation Program reflects Congress’s judgment that American taxpayers

have been spending too much on high-cost prescription drugs, and the

government has a strong interest in controlling federal spending to promote

the general welfare. See Sabri v. United States, 541 U.S. 600, 608 (2004)

(“The power to keep a watchful eye on expenditures . . . is bound up with

congressional authority to spend in the first place . . . .”).

      Contrary to Boehringer’s contention, Old Dearborn Distributing Co. v.

Seagram-Distillers Corp., 299 U.S. 183 (1936), does not support its asserted



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“property interest in deciding ‘the price at which [it] will sell’ its Jardiance[ ]

products.” Br. 26 (first alteration in original) (quoting Old Dearborn, 299

U.S. at 192). Citing a line of cases that have since been overruled,

Old Dearborn asserted that legislatures generally may not impair “the right

of the owner of property to fix the price at which he will sell” his property in

the broader marketplace. 299 U.S. at 192. But the Supreme Court has since

held that the Constitution does not substantively constrain a legislature’s

ability to fix the price of goods. Olsen v. Nebraska ex rel. Western Reference

& Bond Ass’n, 313 U.S. 236, 247 (1941); see also Nebbia v. New York,

291 U.S. 502, 516 (1934) (“So far as the requirement of due process is

concerned, and in the absence of other constitutional restriction, a state is

free to adopt whatever economic policy may reasonably be deemed to

promote public welfare, and to enforce that policy by legislation adapted to

its purpose.”). And Old Dearborn itself expressly affirmed the validity of

legislation that allowed parties to fix the price of goods by contract. 299 U.S.

at 192. Even on its terms, it did not recognize a freestanding property right

to force a price on an unwilling buyer.

      Boehringer’s reliance (Br. 26-27) on cases concerning market-wide

price-control regimes similarly underscores the lack of a protected property



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interest in these circumstances. Unlike the provisions challenged in Bowles,

321 U.S. at 520-22, and Yakus v. United States, 321 U.S. 414, 432-43 (1944), in

which Congress sought to regulate the price at which any person could sell or

lease his property to any buyer, the Negotiation Program does not regulate

the price at which Boehringer may sell Jardiance to any buyer other than the

government. And Boehringer offers no sound reason to extend the analysis

that applies to market-wide price restrictions to a law that governs only the

procedures used to determine the price the government itself is willing to

pay.

       Boehringer’s reliance (Br. 26-27) on NICA, is also misplaced. In

NICA, the Fifth Circuit reversed an order dismissing a challenge to the IRA

for lack of standing and lack of statutory jurisdiction. See 116 F.4th 488, 509

(5th Cir. 2024). By shearing crucial context from a quotation, Boehringer

suggests that the Fifth Circuit recognized a “protected property interest[ ]”

in avoiding a “revenue decrease.” Br. 26 (quotation marks omitted). That

language, however, comes from the Fifth Circuit’s analysis of whether NICA

had pleaded a sufficient injury to establish standing. The Fifth Circuit

explained in that context that NICA “has a concrete interest in not seeing its

members’ revenue decrease as a result of allegedly unconstitutional



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government action.” 116 F.4th at 503. But whether a party has suffered an

economic injury sufficient to establish standing and whether a party has a

protected property interest for due process purposes are wholly separate

questions. Compare, e.g., Booker-El v. Superintendent, Ind. State Prison,

668 F.3d 896, 899 (7th Cir. 2012) (holding that plaintiff had adequately

pleaded an injury-in-fact based on “a substantial risk in losing benefits”),

with id. at 900-01 (holding that plaintiff lacked a property interest in those

same benefits).

II.   The Negotiation Program is consistent with the First
      Amendment.

      1. The Negotiation Program does not compel manufacturers’ speech

by requiring that participants sign a Manufacturer Agreement

memorializing their decision to negotiate and—if negotiations succeed—the

maximum amount that Medicare will pay for a selected drug. As the district

court recognized, SPA31, Boehringer’s compelled speech claims fail at the

outset because “[a] violation of the First Amendment right against compelled

speech occurs ‘only in the context of actual compulsion,’ ” Miller v. Mitchell,

598 F.3d 139, 152 (3d Cir. 2010) (quoting C.N. v. Ridgewood Bd. of Educ.,

430 F.3d 159, 189 (3d Cir. 2005)). Boehringer faces no “actual compulsion” to

engage in any speech because its participation in the Negotiation Program,


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like its participation in Medicare and Medicaid, is voluntary. See supra pp.

32-43.

     As discussed, manufacturers are subject to the Negotiation Program’s

terms—including the requirement to sign a Manufacturer Agreement—only

if they choose to do business with the government by selling their drugs to

Medicare and Medicaid. Just as nothing compels Boehringer to participate

in these programs in the first instance, nothing compels it to engage in any

form of protected speech. The voluntariness of the Negotiation Program and

any attendant “speech” requirements is fatal to these claims. See, e.g., C.N.,

430 F.3d at 189 (rejecting compelled speech claim in the absence of “the

compulsion necessary to establish a First Amendment violation”).

     2. The First Amendment claims also fail for the independent reason

that the Negotiation Program regulates only non-expressive conduct and

does not regulate Boehringer’s constitutionally protected speech. Although

the constitutionally protected “freedom of expression” extends beyond the

“the spoken or written word,” Texas v. Johnson, 491 U.S. 397, 404, 406 (1989)

(quotation marks omitted), the Supreme Court has “rejected the view that

‘conduct can be labeled “speech” whenever the person engaging in the

conduct intends thereby to express an idea,’ ” Rumsfeld v. Forum for Acad.



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& Institutional Rights, Inc. (FAIR), 547 U.S. 47, 65-66 (2006) (quoting

United States v. O’Brien, 391 U.S. 367, 376 (1968)). First Amendment

protections for conduct cover only the “inherently expressive.” Id. at 66. “It

is possible to find some kernel of expression in almost every activity a person

undertakes—for example, walking down the street or meeting one’s friends

at a shopping mall—but such a kernel is not sufficient to bring the activity

within the protection of the First Amendment.” City of Dallas v. Stanglin,

490 U.S. 19, 25 (1989).

      Consistent with this principle, it is well established that “the First

Amendment does not prevent restrictions directed at commerce or conduct

from imposing incidental burdens on speech.” Sorrell v. IMS Health Inc.,

564 U.S. 552, 567 (2011). A “typical price regulation” is one such example.

Expressions Hair Design v. Schneiderman, 581 U.S. 37, 47 (2017). Such a

“law—by determining the amount charged—would indirectly dictate the

content” of speech about the product’s price, but the price regulation poses

no First Amendment problem because any “effect on speech would be only

incidental to its primary effect on conduct.” Id.; see also 44 Liquormart, Inc.

v. Rhode Island, 517 U.S. 484, 507 (1996) (plurality opinion) (noting that

minimum prices or taxes would not restrict speech); id. at 524 (Thomas, J.,



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concurring in part and concurring in the judgment); id. at 530 (O’Connor, J.,

concurring in the judgment); Nicopure Labs, LLC v. Food & Drug Admin.,

944 F.3d 267, 292 (D.C. Cir. 2019) (reiterating that “ordinary price regulation

does not implicate constitutionally protected speech”).

      This principle holds true when commercial conduct is carried out

through written contracts. “[I]t has never been deemed an abridgment of

freedom of speech” to regulate conduct “merely because the conduct was in

part initiated, evidenced, or carried out by means of language, either spoken,

written, or printed.” FAIR, 547 U.S. at 62 (quoting Giboney v. Empire

Storage & Ice Co., 336 U.S. 490, 502 (1949)); see also Lowe v. SEC, 472 U.S.

181, 232 (1985) (White, J., concurring in the result) (emphasizing that “offer

and acceptance are communications incidental to the regulable transaction

called a contract”).

      In requiring the parties to sign documents memorializing their intent

to negotiate and their agreement upon the maximum price that Medicare will

pay for selected drugs, the Negotiation Program regulates only non-

expressive, commercial conduct, and any effects on speech are “plainly

incidental.” FAIR, 547 U.S. at 62. As the district court explained, the

Manufacturer Agreement implements the Negotiation Program as “an



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incidental means to CMS’[s] goal of regulating drug prices.” SPA31.

Manufacturers that choose to participate in the Program engage in

negotiations with the government and agree to make any negotiated prices

available when Medicare beneficiaries purchase selected drugs, and the

Manufacturer Agreement memorializes those program terms. See Revised

Guidance 118-20. Because the Negotiation Program “simply regulate[s] the

amount that a [manufacturer] c[an] collect” when selling drugs to Medicare,

its effect on speech is the same as an ordinary commercial contract.

Expressions Hair Design, 581 U.S. at 47. Such commercial arrangements

between the government and private parties to document agreed-upon prices

raise no First Amendment concerns. Healthcare providers and other entities

regularly execute similar agreements with the government to memorialize

their acceptance of the terms of participation across a range of federal

healthcare programs. See, e.g., 42 U.S.C. §§ 1395cc, 1396r-8(b), (c), 1395w-

102(b)(1); see also CMS, HHS, Form CMS-460, Medicare Participating

Physician or Supplier Agreement (Nov. 2022), https://perma.cc/WG64-

ZNPL.

     3. There is no merit to Boehringer’s objection (Br. 39-43) to the

Manufacturer Agreement’s use of statutory terms of art that are defined in



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the IRA. The use of statutory terms in the Manufacturer Agreement

promotes consistency and clarity. For example, the IRA defines the term

“maximum fair price,” 42 U.S.C. § 1320f(c)(3), and when that term is used in

the Agreement, its meaning reflects its statutorily defined definition.

See Meese v. Keene, 481 U.S. 465, 484-85 (1987) (construing statutory terms

as defined by Congress, “not as it might be read by a layman”). These terms

of art accurately describe the operation of the Negotiation Program and do

not convey or require Boehringer to endorse any view regarding the value of

its drugs. Cf. Milavetz, Gallop & Milavetz, P.A. v. United States, 559 U.S.

229, 251 (2010) (holding that use of the term “debt relief agency” was

necessarily accurate because it was a statutory term of art that defined the

scope of a statutory requirement).

     Indeed, the Manufacturer Agreement states explicitly that a

manufacturer’s signature reflects neither an “endorsement of CMS’[s] views”

nor a representation of the manufacturers’ views concerning the fairness of

prices. JA299. And it explains that the use “of the term ‘maximum fair price’

and other statutory terms throughout th[e] Agreement reflects the parties’

intention that such terms be given the meaning specified in the statute and

does not reflect any party’s views regarding the colloquial meaning of those



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terms.” JA299. This language confirms that the Manufacturer Agreement

uses statutory terms as a way of ensuring a consistent understanding of the

parties’ obligations by reference to the statute, not as a means of compelling

manufacturers to express a view about the value of their drugs.

      Boehringer errs in asserting (Br. 40-41) that language in a government

contract describing a price as “fair” is atypical. Government contracting is

premised on the government obtaining a “fair and reasonable price.”

48 C.F.R. § 15.402(a); see 2 Karen L. Manos, Government Contract Costs &

Pricing § 84:19, Westlaw (database updated Nov. 2024) (“The Government’s

stated pricing policy is to award contracts at fair and reasonable prices.”).

Every government contractor entering a fixed-price contract implicitly

agrees that the price is fair; were it otherwise, the contractor could never

defend its contract award against a bid protest. Nor is the IRA the first

scheme to require a contractor to agree expressly that a price charged is

“fair.” See, e.g., United States v. General Dynamics Corp., 19 F.3d 770, 771

(2d Cir. 1994) (statute requires that in order to obtain a federal subsidy “the

proposed ship purchaser and the shipyard submit backup cost details and

evidence that the negotiated price is fair and reasonable” (quotation marks

omitted)); Air Borealis Ltd. P’ship v. United States, 167 Fed. Cl. 370, 389



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(2023) (contractor allowed to certify that price is “fair and reasonable” in lieu

of providing cost data to government purchaser (quotation marks omitted));

Sea-Land Serv., Inc. v. United States, 493 F.2d 1357, 1360 (Ct. Cl. 1974)

(agreement to sell ships to purchaser at “fair and reasonable values”).

      4. There is likewise no merit to Boehringer’s contention that signing

the Manufacturer Agreement constitutes expressive conduct. “In

determining whether particular conduct possesses sufficient communicative

elements to bring the First Amendment into play,” courts ask “ whether an

intent to convey a particularized message was present, and whether the

likelihood was great that the message would be understood by those who

viewed it.” Young v. New York City Transit Auth., 903 F.2d 146, 153 (2d

Cir. 1990) (cleaned up). As the district court correctly held, Boehringer has

failed to carry its burden of showing that the First Amendment applies to its

signing of the Agreement because it “cannot show it has been forced to

‘convey a particularized message,’ or that the ‘likelihood was great’ that

anyone who read the Agreement would understand [Boehringer] to be

espousing the views with which it ‘strongly disagrees.’ ” SPA33; see Clark v.

Community for Creative Non-Violence, 468 U.S. 288, 293 n.5 (1984) (the

burden to show the First Amendment applies rests with the plaintiff).



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      Boehringer’s signature memorializes its decision to participate in the

Negotiation Program as well as the parties’ understanding of the maximum

price Medicare will pay for the selected drug. Those are among the standard

actions often memorialized in commercial contracts. And the text of the

Manufacturer Agreement in any event expressly disclaims any “intent to

convey a particularized message” through the Agreement. Young, 903 F.2d

at 153 (quotation marks omitted). The disclaimer provides that, “[i]n signing

this Agreement, the Manufacturer does not make any statement regarding

or endorsement of CMS’[s] views, and makes no representation or promise

beyond its intention to comply with its obligations under the terms of this

Agreement with respect to the Selected Drug.” JA299. The Manufacturer

Agreement, therefore, cannot reasonably be read to convey Boehringer’s

endorsement of a particular message. Signing an agreement to negotiate “is

simply not the same as forcing a student to pledge allegiance [to the flag] or

forcing a Jehovah’s Witness to display [a particular motto on his license

plate], and it trivializes the freedom protected in [those circumstances] to

suggest that it is.” FAIR, 547 U.S. at 61-62 (first citing West Virginia State

Bd. of Educ. v. Barnette, 319 U.S. 624 (1943); and then citing Wooley v.

Maynard, 430 U.S. 705 (1977)).



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      Boehringer’s reliance on Pacific Gas & Electric Co. v. Public Utilities

Commission, 475 U.S. 1 (1986) (plurality opinion), for the proposition that

“disclaimers cannot negate a compelled-speech injury” is misplaced. Br. 46

(citing 475 U.S. at 15 n.11 (plurality opinion)). Pacific Gas involved a

challenge to a rule requiring “a privately owned utility company to include in

its billing envelopes speech of a third party with which the utility

disagree[d].” 475 U.S. at 4 (plurality opinion). The Supreme Court held in

that context that, while a disclaimer stating that the third-party speech did

not represent the views of the utility was ineffective to avoid certain First

Amendment harms, it indeed served “to avoid giving readers the mistaken

impression that [the third party’s] words are really those of [the utility].” Id.

at 15 n.11. Pacific Gas thus underscores that such disclaimers prevent

reader misapprehension of the views being expressed and confirms the

absence of any intent in the Manufacturer Agreement to convey a

particularized message.

III. The Negotiation Program does not leverage a discretionary
     benefit to compel a waiver of Boehringer’s constitutional
     rights.

      Congress acted well within any constraints that the unconstitutional

conditions doctrine imposes in this context by making the government’s offer



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to pay for drugs through Medicare and Medicaid contingent on

manufacturers’ agreement to negotiate the price of certain high-expenditure

drugs. The unconstitutional conditions doctrine prevents the government

from requiring a person to give up a constitutional right in order to receive

an unrelated benefit. See Rust v. Sullivan, 500 U.S. 173, 196-98 (1991). Even

assuming the doctrine applies here, where Boehringer is neither a

beneficiary of discretionary benefits nor a government employee or

independent contractor, see Br. 57-58 (collecting cases limited to those

contexts), 7 the requirements imposed by the Negotiation Program directly

relate to the program’s goal of controlling costs and do not impede

Boehringer’s ability to exercise its rights outside the scope of the Program.8


      7
         Contrary to Boehringer’s suggestion that the unconstitutional
conditions doctrine has been held to apply “when the Government contracts
for goods,” Br. 58, Boehringer cites no case in which the doctrine has been
applied in that context. The cases on which it relies for this point all concern
the doctrine’s application in the context of government employment and hold
that, in general, independent contractors are not treated differently from
employees for purposes of this analysis. O’Hare Truck Serv., Inc. v. City of
Northlake, 518 U.S. 712, 720 (1996); Board of Cty. Comm’rs v. Umbehr, 518
U.S. 668, 678-79 (1996); Oscar Renda Contracting, Inc. v. City of Lubbock,
463 F.3d 378, 385 (5th Cir. 2006). Boehringer plainly is not an independent
contractor, and those cases have no bearing on this analysis.
       8
         Boehringer’s reliance (Br. 59) on the “nexus-and-proportionality test
from Dolan v. City of Tigard, 512 U.S. 374, 391 (1994),” and Nollan v.
California Coastal Commission, 483 U.S. 825, 834-37 (1987), is misplaced, as
                                                              Continued on next page.


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     As the Supreme Court explained in Rust, the government may

condition the receipt of federal funds on compliance with program-specific

requirements without violating the unconstitutional conditions doctrine, so

long as the conditions are relevant to the program’s purpose and “leave the

grantee unfettered in its other activities.” 500 U.S. at 196. The

“ ‘unconstitutional conditions’ cases involve situations in which the

Government has placed a condition on the recipient of the subsidy rather

than on a particular program or service, thus effectively prohibiting the

recipient from engaging in the protected conduct outside the scope of the

federally funded program.” Id. at 197 (emphasis omitted). This

jurisprudence has thus consistently distinguished between provisions that

set the terms of and define the scope of government programs, on the one

hand, and provisions that impose external conditions on the recipient of a

government benefit, on the other. See id.

     In Rust, the Court upheld regulations that prohibited the use of federal

funds for abortion counseling, emphasizing that the conditions were directly




the Supreme Court has made clear that this test is reserved for the “ ‘special
application’ of . . . land-use permits,” Koontz v. St. Johns River Water Mgmt.
Dist., 570 U.S. 595, 604 (2013); see also Lingle v. Chevron U.S.A. Inc., 544
U.S. 528, 538 (2005) (noting the “special context of land-use exactions”).

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connected to the purpose of the funding, and that they did not prevent

recipients from engaging in protected speech through affiliates funded by

non-federal sources. See 500 U.S. at 196-98. Conversely, in Agency for

International Development v. Alliance for Open Society International, Inc.

(AID), the Court struck down a condition that required non-governmental

organizations receiving federal HIV/AIDS funding to adopt a policy

announcing their opposition to prostitution and sex trafficking that extended

well beyond the scope of the funded program. 570 U.S. 205, 218 (2013).

     These cases underscore the permissibility of the Negotiation Program

terms. The IRA sets the terms of the government’s offer to pay for drugs for

Medicare beneficiaries and does not set an external “condition” on

manufacturers’ ability to sell drugs. The government has a substantial

interest in curbing the rising costs of public spending on prescription drugs.

See Lyng v. International Union, United Auto., Aerospace & Agric.

Implement Workers of Am., 485 U.S. 360, 373 (1988) (acknowledging the

government’s legitimate interest in “protecting the fiscal integrity

of[g]overnment programs, and of the [g]overnment as a whole”). And the

establishment of the Negotiation Program furthers that interest and

promotes the long-term fiscal integrity of the government’s drug-



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procurement program. The terms that Boehringer challenges—agreeing to

participate in price negotiations, signing contracts reflecting agreed-upon

prices, and ultimately selling drugs to Medicare at such prices—are integral

to the functioning of this drug-payment program, and they do not impede

Boehringer’s ability to exercise its rights outside of the government’s

prescription drug spending.

      To the extent that Boehringer objects to signing (1) an agreement to

negotiate and (2) an addendum stipulating the agreed price after a deal is

reached, Br. 62, those requirements are central to the operation of the

Negotiation Program as they are the mechanisms by which the government

and manufacturers establish prices for the selected drugs, as well as the

source of the enforceable obligation for both parties to honor those terms, see

Revised Guidance 118-20. In this way, the Manufacturer Agreement

“define[s] the federal program” and does not “reach outside it.” AID,

570 U.S. at 217. Indeed, Boehringer can and has spoken out against the

Negotiation Program. See, e.g., Br. 14 (noting that Boehringer signed

Agreement “under protest”). Thus, even if the Manufacturer Agreement

implicated Boehringer’s speech interests—which, for the reasons discussed,

it does not, see supra pp. 50-59—there is no serious argument that Congress



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has impermissibly leveraged its spending “to regulate speech outside the

contours of the program itself.” AID, 570 U.S. at 214-15.

      Boehringer’s contention that the Negotiation Program impermissibly

conditions participation on the relinquishment of Fifth Amendment rights

likewise fails because the terms to which Boehringer objects are central to

the operation of the program and “leave [Boehringer] unfettered in its other

activities.” Rust, 500 U.S. at 196. The negotiation of prices is the central

point of Congress’s decision to establish the Program and cannot reasonably

be described as an extrinsic condition imposed on manufacturers. And

because Boehringer remains free to sell its drugs to other purchasers at any

price, this requirement does not infringe on Boehringer’s rights “outside the

scope of the federally funded program.” Id. at 197.

IV.   Congress authorized CMS to implement the Negotiation
      Program without resort to notice-and-comment rulemaking.

      The IRA directs CMS to “implement” the Negotiation Program’s first

three years through “program instruction or other forms of program

guidance.” IRA § 11001(c), 136 Stat. at 1854. After that initial period,

beginning in 2028, CMS is to follow the Medicare Act’s default rule and use

notice-and-comment procedures before promulgating any “rule,




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requirement, or other statement of policy . . . that establishes or changes a

substantive legal standard.” 42 U.S.C. § 1395hh(a)(2).

     CMS followed Congress’s directive when it implemented the first year

of the Negotiation Program through guidance that includes the terms of the

Manufacturer Agreement. Revised Guidance 118-32. There is no merit to

Boehringer’s argument that CMS needed to promulgate the Agreement

through notice-and-comment rulemaking.

     Both the Medicare Act and the APA explicitly contemplate situations

in which Congress “expressly” authorizes agencies to depart from notice-

and-comment procedures. 5 U.S.C. § 559; 42 U.S.C. § 1395hh(b)(2)(A). It is

well established that Congress need not employ “ ‘magical passwords’ ” to

exempt a subsequent statutory scheme from notice-and-comment

requirements; it simply needs to demonstrate its intent to apply a different

procedural framework. Dorsey v. United States, 567 U.S. 260, 274 (2012).

When Congress “specifie[s] procedures . . . that cannot be reconciled with the

notice and comment requirements of [the APA]” or the Medicare Act, it has

manifested its intent to waive notice-and-comment requirements. Asiana

Airlines v. FAA, 134 F.3d 393, 398 (D.C. Cir. 1998).




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     Despite the IRA’s express text, Boehringer argues that Congress was

not clear enough in directing CMS to implement the Negotiation Program

through guidance. Br. 33-34. But Congress made its intent perfectly clear

when it “specifie[d] procedures which differ from those of the APA” and the

Medicare Act by directing CMS “to issue not a proposed rule” but rather

program instruction or other guidance. Asiana Airlines, 134 F.3d at 398.

CMS did not err in following those procedures. 9

     Accepting Boehringer’s argument would render section 11001(c)

meaningless, as Boehringer fails to suggest what purpose the directive to

implement the Negotiation Program through guidance would serve if not to

obviate the need for notice-and-comment procedures during the initial years

of the Program’s implementation. See Pulsifer v. United States, 601 U.S.

124, 142-43 (2024) (rejecting interpretation that would give subparagraph of

statute “no independent work” to do). Boehringer is thus asking this Court

to disregard not just a word but an entire substantive provision of the IRA,


     9
        Although not required by the IRA, CMS voluntarily solicited
comments on the content of the Manufacturer Agreement. See Revised
Guidance 30. Boehringer chose not to avail itself of this opportunity.
See Dkt. No. 48-1, at 55 n.14 (“[Boehringer] submitted a comment expressing
its views with regard to various aspects of the Initial Guidance, but declined
to respond to CMS’s request for comments on the terms and conditions of
the Agreement.”).

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which “is so evidently designed to serve a concrete function.” Id. at 143.

“[T]he canon against surplusage applies with special force” when it would

invalidate an entire provision of an Act. Id.; see also National Ass’n of Mfrs.

v. DOD, 583 U.S. 109, 128 (2018).

      Boehringer fares no better with its argument that the Manufacturer

Agreement “does not fall within the scope of section 11001(c)” because the

“IRA distinguishes between the Agreement and ‘program instructions or

other forms of program guidance.’ ” Br. 32 (cleaned up). Contrary to

Boehringer’s suggestion, the material terms of the Agreement are contained

in the guidance that CMS issued. See Revised Guidance 118-32. And the

Agreement plainly is part of CMS’s “implement[ation]” of the Negotiation

Program, as it is the means through which the parties memorialize the

decision to negotiate, as well as any negotiated price. IRA § 11001(c), 136

Stat. at 1854. The idea that Congress generally authorized CMS to

implement the Negotiation Program through guidance but required notice-

and-comment procedures in connection with the Agreement that provides

the central means for effectuating the Program’s terms runs counter to the

text and purpose of the statute.




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                              CONCLUSION

     For the foregoing reasons, the judgment of the district court should be

affirmed.

                                           Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Federal Rule of

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